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NORTHERN DISTRICT oF TEXA FT?H§§§OFTEXAS
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sTATE 0F TEXAS, et al.,
Plaintiffs,

 

CLERK, U.S. DISTRICT COURT

 

JEANETTE DRIEVER, et al., BY g
Plaintiff-Intervenors, ~~“___i~_MMlXEW§WMM`,N
v. No. 7:16-cv-00054-O

UNITED STATES OF AMERICA, et al.,
Defendants

COMPLAINT

The Plaintiff-lntervenors file this Complaint against all
of the Defendants presently part of this civil case, to
include known and unknown government employees, in their
official and individual capacities, as a Bivens claim,
for the enacting of national policies and practices, on
transgender rights which violate the bodily privacy rights
of women created by God, not man, through surgery or self-
identification.

These national polices, practices, Guidelines, directives,
or program statements consistently violated the Administrative
Procedure Act's notice and comment requirements, Constitutional
rights to bodily privacy and Equal Protection, as well
as longstanding principles of human decency in women and
men having separate, but equal, intimate facilities.

Simply put, it is abnormal for men to have access
to women s intimate facilities may it be in a college locker-
room, middle school bathroom, or a prison shower, regardless
of the gender of which any person identifies. Their self-
identity violates the Plaintiff-Intervenors and other persons
right to privacy.

The Plaintiff-Intervenors challenge the Defendant's
policies and practices that allow transgender persons access
to intimate facilities that do not correspond with their
birth sex.

 

 

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The Plaintiff-lntervenors are subjected to exposing
themselves in front of men in bathrooms, showers, and
living areas, and being exposed to the genitals of men
who self-identify as women.

The Plaintiff-Intervenors are subjected to dangerous
conditions because intimate facilities seldom have video
monitoring, may they be in a prison or an airport. Allowing
men in these areas endanger women who are physically unable
to protect themselves from potential physical or sexual
assaults from men.

The Plaintiff-lntervenors do notujust challenge the
access that transgenders have to intimate facilities at
FMC Carswell, but to any government building. After living with
male transgenders for several years,'the Plaintiff-lntervenors
have experienced the danger of being in isolated areas,
such as bathrooms with these people.

The Plaintiff-Intervenors have suffered actual injury
due to the Defendants granting of special rights to trans-
gender men and perceive future injuries if relief is not
granted which prevents access to intimate facilities by
vale transgenders in women' s areas.

The Plahnjffs have witnessed assaults by male transgenders,
been SOliCit€d for sex by them, denied accommodations to
not be housed with them or shower in a separate area, while
the Defendants have went overboard in accommodating male
transgenders. Program Statement 5200.04, already filed
in this case, shows the courtesy afforded male transgenders
and nmmaare given to women who do not want to expose them-
selves in front of men.

The conditions in FMC Carswell are not much different
from what young women will experience in school bathrooms,
locker rooms, and other intimate facilities. The Defendants'
Guidelines allow transgenders to use intimate facilities
with the opposite sex and they are accommodated with access to
separate facilities , clearly an equal protection violation.

RELIEF REQUESTED

The Plaintiff-Intervenors pray that the Court will
issue a ban on the use of intimate facilities that do not
correspond with the persons sex at birth and order compensation
to the Plaintiff-Intervenors who have suffered due to the
actions of the Defendants.

Res ec fully Submitted,
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-2- 01/25/2017

 

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CERTIFICATE OF SERVICE

A copy of the same has been served by U.S. MailH on
the same day and by the Clerk's electronic filing of this
document to:

AUSA Benjamin Berwick
1 Courthouse Way
Boston, MA 02210 §

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Rhonda Fleming

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